             Case 2:18-cv-01024-TSZ Document 32 Filed 10/18/18 Page 1 of 2



 1

 2

 3

 4

 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
          JAMES TOBIN and LORI TOBIN,
          Husband and Wife,
 8
                                Plaintiffs,
 9
              v.
10
          BANK OF AMERICA, N.A., a national
11        association, NEW PENN FINANCIAL
          LLP dba SHELLPOINT MORTGAGE                    C18-1024 TSZ
12        SERVICING, a foreign corporation,
          and THE BANK OF NEW YORK                       MINUTE ORDER
13        MELLON fka THE BANK OF NEW
          YORK AS TRUSTEE FOR THE
14        CERTIFICATE HOLDERS OF THE
          CWALT, INC., ALTERNATIVE
15        LOAN TRUST 2006-OC1,
          MORTGAGE PASS-THROUGH
16        CERTIFICATES, SERIES 2006-OC1,
17                              Defendants.

18
        The following Minute Order is made by direction of the Court, the Honorable
19 Thomas S. Zilly, United States District Judge:
          (1)     Defendants’ motion to dismiss, docket no. 14, is DENIED. The Complaint
20
   alleges sufficient facts, if taken as true, to allege a plausible claim to quiet title. See
   Fujita v. Quality Loan Service Corp., No. 16-925, 2016 WL 4430464, *2 (W.D. Wash.
21
   Aug. 22, 2016) (noting that “acceleration occurs upon notice to the debtor that the
22

23

     MINUTE ORDER - 1
              Case 2:18-cv-01024-TSZ Document 32 Filed 10/18/18 Page 2 of 2



 1 creditor intends to declare the entire sum due and payable.”); Kirsch v. Cranberry Fin.
   LLC, 178 Wn. App. 1031 at *5 (2013).
 2
          (2)      Defendants’ Requests for Judicial Notice, docket nos. 15 & 23, and
 3 Plaintiffs’ Request for Judicial Notice, docket no. 18, all of which seek judicial notice of
   publicly recorded documents, are GRANTED. Plaintiffs’ Request for Judicial Notice to
 4 Surreply, docket no. 26, which seeks notice of non-recorded notices of postponement of
   trustee sales, is DENIED. The Court may take judicial notice of facts that are not subject
 5 to reasonable dispute—including publicly recorded documents—without converting a
   motion to dismiss into a motion for summary judgment. Fed. R. Evid. 201; United States
 6 v. Richie, 342 F.3d 903, 908-09 (9th Cir. 2003).

 7          (3)   The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
 8          Dated this 18th day of October, 2018.
 9
                                                     William M. McCool
10                                                   Clerk

11                                                   s/Karen Dews
                                                     Deputy Clerk
12

13

14

15

16

17

18

19

20

21

22

23

     MINUTE ORDER - 2
